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EXHIBIT “A”
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                                    IN THE STATE COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA


                         DR. CACELIA BRYANT

                                  Plaintiff,                       CIVIL ACTION NO: 21A04522


                                      vs.


                DOLLAR TREE STORES, INC.; ABC                      JURY TRIAL DEMANDED
                  CORPS 1-2 and JOHN DOES 1-4

                                 Defendants




                                        VERIFIED COMPLAINT FOR DAMAGES

                         Plaintiff files this Verified Complaint for damages and shows the following:


                                            PARTIES, JURISDICTION & VENUE

                                                              1.

                     DR. CACELIA BRYANT (“PLAINTIFF”), resides in Dekalb County, Georgia and is

             subject to the jurisdiction of this court.

                                                              2.

                     DOLLAR TREE STORES, INC., (“DOLLAR TREE”) is a foreign corporation,

             registered in the State of Virginia, doing substantial business in Georgia and subject to the

             jurisdiction and venue of this Court. DOLLAR TREE can be served via their registered agent:

             Corporation Service Company, #2 Sun Court, Suite 400, Peachtree Corners, GA 30092.

                                                              3.

                     The true names and/or capacities of Defendants named herein as ABC CORPS 1 and 2

             (“ABC CORPS”) are at this time unknown to the Plaintiff, who therefore sues said Defendants by


                                                                                                           STATE COURT OF
                                                                                                        DEKALB COUNTY, GA.
                                                                                                            10/1/2021 8:58 PM
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             such fictitious names. Plaintiff will amend the Complaint to show said Defendants’ true names

             when the same have been ascertained. Plaintiff alleges on information and belief that said

             Defendants may in some manner be responsible for the acts and/or omissions alleged herein.


                                                                   4.

                     The true names and/or capacities of Defendants named herein as JOHN DOES 1 through

             4 (“JOHN DOES”) are unknown to the Plaintiff, who therefore sues said Defendants by such

             fictitious names. Plaintiff will amend the Complaint to show said John Does' true names when the

             same have been ascertained. Plaintiff alleges on information and belief that all John Does may in

             some manner be responsible for the acts or omissions alleged herein.


                                                  FACTUAL ALLEGATIONS

                                                                   5.

                     On June 11, 2019, Plaintiff went to Dollar Tree store #4380 located at 2442 Wesley Chapel

             Road in Decatur, GA 30035 to do her shopping. Dollar Tree’s shopping carts were corralled

             outside the store. Customers must pay $0.25 to “rent” a cart for use in the store. Plaintiff paid her

             $0.25, but then struggled to free a shopping cart as they were jammed together. Plaintiff asked the

             store manager for help as he walked towards the parking lot, only to receive a smirk and dismissal

             as he ignored her and continued walking away.


                                                                   6.

                     Plaintiff then proceeded to enter the store and seek help from a staff member. When she

             explained that the carts were stuck together and she needed help, the store clerk stated “You have

             to put a quarter in.” Plaintiff told her that she had inserted the quarter, reiterated that the carts were

             jammed, and she needed help. The clerk shrugged and refused to help.

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                                                                   7.

                        With none of Dollar Tree’s employees or managers willing to help, Plaintiff tried one more

             time to separate a cart on her own, and seriously injured herself in the process. With her hand

             jammed between the bars of the carts, Plaintiff screamed for help, but no one in the store came to

             her aid.

                                                                   8.

                        In tears, Plaintiff finally freed herself and went into the store for help. When she could get

             no attention from staff, she sought out the manager and asked to fill out an incident report. To

             Plaintiff’s dismay, the manager refused. Plaintiff called her husband to come get her and he tried

             to speak to management, but he encountered hostility and complete indifference. Plaintiff’s

             husband took her to get medical treatment for her injured hand.

                                                                   9.

                        Defendant, Dollar Tree employed the personnel to monitor, maintain, inspect, control

             and/or clean the store’s shopping carts and attend to shopper’s needs.

                                                                  10.

                        At all times relevant to this action, Dollar Tree maintained and was responsible for the

             shopping carts, but failed to properly monitor, maintain, inspect, control and/or clean the store’s

             shopping carts and attend to its guests needs.

                                                                  11.

                        At all times relevant to this action, Plaintiff was an invitee upon the premises of the Dollar

             Tree store where she sustained her injuries.

                                                                  12.

                        At all times relevant to this action, Plaintiff exercised due care for her own safety.


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                                                                  13.

                     As a result of the Defendants’ negligence, the Plaintiff has suffered physical injuries, not

             limited to surgeries, permanent scarring, and disfiguration.

                                                                  14.

                     As a result of the Defendants’ negligence the Plaintiff suffered and continues to suffer

             bodily injury, diminished enjoyment of life, a permanent injury, loss of consortium and incurred

             medical expenses exceeding $35,000 and other economic losses.

                                                           COUNT I
                                                          Negligence
                                               Failure To Maintain Safe Premises

                     Plaintiff re-alleges and re-avers paragraphs 1-14 as if recounted herein.

                                                                  15.

                     The Defendants, as joint tortfeasors, have breached their duty to the general public and to

             Plaintiff herein by failing to maintain a safe premises, causing Plaintiff to suffer serious and

             permanent injuries.

                                                                  16.

                     Plaintiff alerted Defendants to the perilous cart situation, not once, but twice. Defendants’

             employees and managers ignored Plaintiff’s pleas for help, leaving Plaintiff to fend for herself and

             struggle with Defendants’ hazardous carts.

                                                                  17.

                     As a result of Defendants’ failure to maintain safe and hazard free premises, Plaintiff

             suffered and continues to suffer bodily injury, diminished enjoyment of life, loss of consortium,

             permanent injuries, and has incurred medical expenses and economic losses.




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                                                            COUNT II
                                                         Negligence Per Se

                     Plaintiff re-alleges and re-avers paragraphs 1-17 as if recounted herein.

                                                                  18.

                     Georgia statutes, including but not limited to O.C.G.A. § 51-3-1, assign duties to

             landowners or occupiers.

                                                                  19.

                     O.C.G.A. § 51-3-1 provides the following duty: “Where an owner or occupier of land, by

             express or implied invitation, induces or leads others to come upon his premises for any lawful

             purpose, he is liable in damages to such persons for injuries caused by his failure to exercise

             ordinary care in keeping the premises and approaches safe”.

                                                                  20.

                     The Defendants breached the abovementioned duty.

                                                                  21.

                     As a result of the aforementioned breaches of duty, Plaintiff suffered and continues to

             suffer bodily injury, diminished enjoyment of life, loss of consortium, permanent injury, and she

             has incurred medical expenses and economic losses.


                                                            COUNT III
                                                         Vicarious Liability

                     Plaintiff re-alleges and re-avers paragraphs 1-21 as if recounted herein.

                                                                  22.

                     Defendants JOHN DOES were employees or agents of Defendant Dollar Tree and/or

             Defendants ABC CORPS at the time of the incident.



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                                                                  23.

                     Upon information and belief, Defendants Dollar Tree and ABC CORPS negligently hired

             Defendants JOHN DOES and are vicariously liable for Defendants JOHN DOES’ negligent acts

             and omissions.


                                                                  24.

                     Upon information and belief, at all relevant times, Defendants Dollar Tree and ABC

             CORPS knew or should have known of Defendant JOHN DOES’ negligent and dangerous

             propensities and background.


                                                                  25.

                     At all times relevant, Defendant JOHN DOES were acting within the course and scope of

             their employment or agency with Defendants Dollar Tree and ABC CORPS.


                                                                  26.

                     Defendant JOHN DOES, were employees or agents of Defendants Dollar Tree and ABC

             CORPS, which negligently entrusted Defendant JOHN DOES to act as their employees or agents

             to the public. Since Defendant JOHN DOES were acting within the course and scope of their

             employment or agency at the time of this incident, Defendants Dollar Tree and ABC CORPS are

             vicariously liable for all damages caused by their negligent acts and omissions under principles of

             respondeat superior or agency.


                                                         COUNT IV
                                          Negligent Hiring, Training and Supervision

                     Plaintiff re-alleges and re-avers paragraphs 1-26 as if recounted herein.

                                                                  27.


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                     Defendants Dollar Tree and ABC CORPS were negligent, negligent per se, careless,

             reckless, willful and wanton in one or more of the following ways:


                     (a)     In hiring Defendant JOHN DOES and entrusting them to interact with the public;

                     (b)     In failing to properly train Defendant JOHN DOES;

                     (c)     In failing to properly supervise Defendant JOHN DOES;

                     (d)     In failing to implement safety practices to assure safe maintenance and operation

             of the carts being used by their customers;
                     (e)     In failing to execute proper background checks of Defendant JOHN DOES; and

                     (f)     In failing to exercise that degree of care and caution that a reasonable and prudent
             employer would have exercised under the circumstances.
                                                                  28.

                     Defendants Dollar Tree and ABC CORPS’ negligent and reckless conduct is the sole and

             proximate cause of the personal injuries sustained by the Plaintiff.


                                                           COUNT V
                                                       Punitive Damages
                                                 (O.C.G.A. SECTION 51-12-5.1)

                     Plaintiff re-alleges and re-avers paragraphs 1-28 as if recounted herein.

                                                                  29.

                     Plaintiff shows that the conduct and inaction of the Defendants was such as to evince an

             entire want of care and indifference to the consequences of such conduct and inaction.


                                                                  30.

                     Plaintiff shows that such conduct amounted to wanton acts by the Defendants without

             regard to the rights of the Plaintiff.




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                                                                  31.


                     Plaintiff shows that the conduct and/or inaction of the Defendants was to such a degree of

             recklessness as to evince a conscious knowledge of the probability of the harmful consequences

             that did indeed befall her, amounting to a reckless disregard for her rights and a specific intent to

             cause harm.



                                                                  32.

                     Defendants are guilty of aggravating circumstances as defined by Georgia law which

             entitles the Plaintiff to an award of punitive damages to deter Defendants from such conduct in the

             future and for which Plaintiff sues the Defendants.


                                                          COUNT VI
                                                      Expenses of Litigation
                                                   (O.C.G.A. SECTION 13-6-1)

                     Plaintiff re-alleges and re-avers paragraphs 1-32 as if recounted herein.


                                                                  33.

                     Plaintiff shows that Defendants have acted in bad faith, been stubbornly litigious and have

             caused Plaintiff unnecessary trouble, pain and expense, for which Plaintiff sues Defendants for

             attorneys’ fees, costs of litigation and related expenses.




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                                                     PRAYER FOR RELIEF

             WHEREFORE, Plaintiff respectfully prays and demands as follows:

                     a. That process and summons issue, as provided by law, requiring defendants to appear
                         and answer Plaintiff’s Complaint;
                     b. That service be had upon the defendants as provided by law;
                     c. That discovery and Admissions be answered;
                     d. That the Court award and enter a judgment in favor of Plaintiff against Defendants for
                         compensatory and general damages in amounts to be proven at trial;
                     e. That Plaintiff receive the cost of this action and interest thereon;
                     f. That Plaintiff have a trial by jury as to all issues; and
                     g. That Plaintiff have such other and further relief as the Court may deem just and
                          proper.


             This 1st day of October 2021.

                                                                        By:      /s/ Janice D. Strong
                                                                                 Georgia State Bar No. 940890
                                                                                 Attorney for Plaintiff


             THE STRONG LAW FIRM, P.C.
             300 Colonial Center Pkwy, Suite 100
             Roswell, GA 30076                                                             STATE COURT OF
             Tel: 678.353.3277                                                             DEKALB COUNTY, GA.
             Fax: 678.623.3456                                                             10/1/2021 8:58 PM
             Email: janice@jstronglawfirm.com                                              E-FILED
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                                                            IN THE STATE COURT OF DEKALB COUNTY
                                                                      STATE OF GEORGIA

                                 DR. CACELIA BRYANT

                                                        Plaintiff,              CIVIL ACTION # 21A04522

                                                                VS.


                     DOLLAR TREE STORES, INC.; ABC                                  JURY TRIAL DEMANDED
                      CORPS 1-2 and JOHN DOES 1-4

                                                       Defendants




                                               VERIFICATION OF COMPLAINT FOR DAMAGES
            1,   DR. CACELIA BRYANT,     do verify under penalty of
                                                                     perjury and the laws of the State of
            Georgia, that the foregoing VERIFIED COMPLAINT FOR DAMAGES is based
                                                                                                upon my
            personal knowledge and experience, and is true to the best of
                                                                          my knowledge, information, and
            belief.



                                                                                '




             Dr. Cacelia Bryant                                                     County of:
             Plaintiﬁ’                                                              State of:     (   EECE‘ @:
             Date:
                           LO
                                      " “ ZOZl
                                           I




           The foregoing document was acknow
                                               ledged before me on this the I gday of October 2021, with
           the signatory being person
                                      ally present and having proved to me on the basis of satisfa
           eviden                                                                                  ctory
                      ce to be the person whose name is subscribed above.



                                                                                                               LACHUNNA BRYANT
                                                        u                                                Notary Public - State of
           Not   a
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                                 I
                                 16
                                      if   5
                                               l

                                                   i        ‘                                                    Dekaib County
                                                                                                                                  Georgia

           My    o
                           v'ssion expires:                           0..   Zazs/                     My Commission Expires
                                                                                                                              May 24, 2025




                                                               10
           Veriﬁed Complaint: Dr. Cacelia Bryant Vs. Dollar Tree Stores, Inc.,           Et Al.


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                        21A04522
                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                          10/4/2021                                                            SUMMONS
                ______________________________
                     /s/ Monica Gay
                ______________________________
                Deputy Clerk
                                                                           Dr. Cacelia Bryant
                Deposit Paid $ __________________
                                                                           1364 Cedar Green
                                                                           _____________________________________
                                                                           Stone Mountain, GA 30088
                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [ ] JURY                                                   Dollar Tree Stores, Inc.
                                                                           ______________________________________
                                                                           c/o Corporation Service Company
                                                                           2 Sun Court, Suite 400
                                                                           ______________________________________
                                                                           Peachtree Corners, GA 30092
                                                                           Defendant's name and address

                TO THE ABOVE-NAMED DEFENDANT:                               Defendant's name and address

                You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2 nd Floor,
                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                _______________________________________________________________
                Janice D. Strong
                Name
                THE   STRONG    LAW FIRM, PC
                _______________________________________________________________
                300 Colonial Center Pkwy, Suite 100, Roswell, GA 30076
                Address
                (678) 353-3277                                            GBN: 940890
                _______________________________________________________________
                Phone Number                                               Georgia Bar No.

                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
                taken against you for the relief demanded in the complaint. The answer or other responsive
                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                                                                                                         TBD
                 X
                 Personal Injury  Products Liability
                 Contract  Medical Malpractice
                                                                                     Principal $ _____________________

                 Legal Malpractice  Product Liability                              Interest $    _____________________
                Other
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                X
                (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
                                                                                                                                            STATE COURT OF
                                                                                                                                         DEKALB COUNTY, GA.
                                                                                                                                             10/1/2021 8:58 PM
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                                   General Civil and Domestic Relations Case Filing Information Form

                                        ☐ Superior or ☐ State Court of ______________________________
                                                                       DEKALB                         County

              For Clerk Use Only
                                 10/4/2021                                                            21A04522
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      BRYANT        CACELIA                        DR.                               __________________________________________________
                                                                                      DOLLAR       TREE          STORES INC.
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                      ABC          CORPS         1-2
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                      JOHN         DOES          1-4
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix

      Plaintiff’s Attorney ________________________________________
                           JANICE D. STRONG                         State Bar Number __________________
                                                                                      940890            Self-Represented ☐

                                Check one case type and one sub-type in the same box (if a sub-type applies):

              General Civil Cases
                                                                                              Domestic Relations Cases
              ☐           Automobile Tort
              ☐           Civil Appeal                                                        ☐            Adoption
              ☐           Contempt/Modification/Other                                         ☐            Contempt
                          Post-Judgment                                                                    ☐ Non-payment of child support,
              ☐           Contract                                                                         medical support, or alimony
              ☐           Garnishment                                                         ☐            Dissolution/Divorce/Separate
              ☐
              ✔           General Tort                                                                     Maintenance/Alimony
              ☐           Habeas Corpus                                                       ☐            Family Violence Petition
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Modification
              ☐           Landlord/Tenant                                                                  ☐ Custody/Parenting Time/Visitation
              ☐           Medical Malpractice Tort                                            ☐            Paternity/Legitimation
              ☐           Product Liability Tort                                              ☐            Support – IV-D
              ☐           Real Property                                                       ☐            Support – Private (non-IV-D)
              ☐           Restraining Petition                                                ☐            Other Domestic Relations
              ☐           Other General Civil

      ☐       Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐
      ✔
              I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

      ☐       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

               ________________________________ Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                                Version
                                                                                                                                                  STATE 1.1.20
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                                                                                                                                              DEKALB COUNTY, GA.
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